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UNITED STATES DISTRICT COURT FOR THE

=SOUTHERN DISTRICT OF WEST VIRGINIA|  [-[j [—/")

CHARLESTON GRAND JURY 2020
JUNE 10, 2021 SESSION

JUN | 0 2021

UNITED STATES OF AMERICA

wi CRIMINAL NO. 22@)/—¢r— coe FZ
18 U.S.C. § 2252A(a) (5) (B)
18 U.S.C. § 2252A(b) (2)

JAMES GIPSON

INDICTMENT

(Possession of Child Pornography)
The Grand Jury Charges: .
On or about April 25, 2020, at or near Charleston, Kanawha
County, West Virginia, and within the Southern District of West
Virginia, defendant JAMES GIPSON did knowingly possess material,
that is, a computer graphic image file, containing an image of
child pornography, as defined in 18 U.S.C. § 2256(8) (A), that
involved a prepubescent minor and which had been shipped and
transported in and affecting interstate and foreign commerce by
any means, including by computer.

In violation of Title 18, United States Code, Sections

2252A(a) (5) (B) and 2252A(b) (2).
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FORFEITURE

The allegations contained in this single-count Indictment are
hereby re-alleged and incorporated by reference for the purpose of
alleging forfeitures pursuant to 18 U.S.C. § 2253, as well as Rule
32.2(a) of the Federal Rules of Criminal Procedure.

Pursuant to 18 U.S.C. § 2253(a), upon conviction of an offense
in violation of Title 18, United States Code, Section 2252A, the
defendant, JAMES GIPSON, shall forfeit to the United States of
America any property constituting, or derived from, any proceeds
obtained, directly or indirectly, as the result cf such offenses
and any property used, or intended to be used, in any manner or
part, to commit, or to facilitate the commission of, the offense,
including an Acer laptop serial number LXAU50X263902017B0200.

This property also includes, but is not limited to, any visual
depictions and any books, magazines, periodicals, films,
videotapes and other matter which contains such visual depictions,
which were produced, transported, mailed, shipped or received in
connection with the violations set forth in this Indictment; any
real and personal property constituting or traceable to gross
profits and other proceeds obtained from the violations set forth

in this Indictment; and any real and personal property used or
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intended to be used to commit or to facilitate the commission of
the violation set forth in this Indictment.

LISA G. JOHNSTON
Acting United States Attorney

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KRISTIN F. SCOTT
Assistant United States Attorney

